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                      IN THE FEDERAL DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


                                                     )
 HANY SHALABI,                                       )
                                                     )
 Plaintiff,                                          ) Case No.: 21-cv-5623
                                                     )
 v.                                                  ) Hon. Judge Manish S. Shah
                                                     )
 CITY OF CHICAGO, a municipal                        )
 corporation,                                        )
                                                     )
 Defendant.                                          )
                                                     )


 PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S CORRECTED
                MOTION FOR CONFIDENTIALITY ORDER

          Plaintiff, HANY SHALABI, by and through the undersigned attorneys, asks the Court to

deny Defendant, CITY OF CHICAGO’s, motion for confidentiality order. In support of his

opposition, Plaintiff states the following:

                             RELEVANT FACTUAL BACKGROUND

1. Plaintiff is Hany Shalabi (“Plaintiff”) and Defendant is the City of Chicago (“the City”).

2. Plaintiff sued defendant for violations of Title VII for: national origin (Count II), religious

      discrimination (Count III), and retaliation (Count IV). (Dkt. 7.)

3. On July 27, 2022, the City sent Plaintiff a draft Confidentiality Order (“CO”) and draft

      Protective Order. On July 28, the City sent a revised draft of the CO (Dkt 26-1). The City’s

      second draft CO diverges significantly from the model order used by the Northern District of

      Illinois.

4. On July 28, Plaintiff objected to one section of the City’s draft CO and raised a question with

      another. Specifically, with respect to section 2(a), Plaintiff objected to the City’s provision
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   that “[b]efore producing any documents, counsel shall redact the social security number,

   driver’s license number, birth date, home address, private email address, and personal

   telephone numbers of any individuals identified in the records.” (Dkt. 26-1 p. 2). Plaintiff

   disputed the treatment of home addresses, private email addresses and personal telephone

   numbers as personally identifiable information that should be redacted from production to

   him. Plaintiff agreed to treat such information as Confidential, but objected to the production

   of said information in redacted form.

5. Plaintiff posed a question to the City with respect to section 2(b) of its draft CO.

   Specifically, Plaintiff asked the City why, if there was no dispute that CR files would be

   treated by the parties as Confidential, it was necessary to include provisions that would

   require an additional separate process for the treatment of CR files pursuant to Illinois FOIA

   law.

6. On July 29, the City responded to Plaintiff. With respect to section 2(a), it asked for

   confirmation as to whether Plaintiff would object to the redaction of the information the

   parties disputed was “personally identifiable information”. It further stated, “If necessary,

   we can potentially provide this information separately. We redact the records to limit

   dissemination of this information in the event the records are publicly filed.” With respect to

   section 2(b), the City stated it was working on a response to the question posed regarding CR

   files.

7. On July 29, Plaintiff confirmed he would “object to producing the documents with home

   addresses, emails and telephone numbers redacted. We would agree to redact that

   information so that it would be protected from public dissemination if filed in court

   documents.”


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8. The City did not provide Plaintiff with a response to its question regarding section 2(b).

                                     LEGAL STANDARD

9. “Any step that withdraws an element of the judicial process from public view ... requires

   rigorous justification.” Matter of Krynicki, 983 F.2d 74, 75 (7th Cir.1992). Under Rule 26, a

   court may issue a confidentiality order protecting the public dissemination of information

   upon a showing of good cause. Fed. R. Civ. P. 26(c)(1). Showing good cause is a “heavy

   burden.” Chicago Mercantile Exchange, Inc. v. Technology Research Group, LLC, 276

   F.R.D. 237, 241 (N.D. Ill. 2011). Good cause is shown where the party seeking to maintain

   documents as confidential establishes “disclosure will work a clearly defined and serious

   injury to the party seeking closure. The injury must be shown with specificity.” Id. “Broad

   allegations of harm, unsubstantiated by specific examples or articulated reasoning, do not

   support a good cause showing.” Id. A showing of good cause requires a party to present “a

   particular and specific demonstration of fact, as distinguished from stereotyped and

   conclusory statements.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 102, 101 S.Ct. 2193, 68

   L.Ed.2d 693 (1981).

                                          ARGUMENT

10. The City seeking to preclude information from discovery by Plaintiff is not the sort of

   protection typically envisioned by a CO. Rather, the purpose of a CO is to prevent public

   dissemination of private information, not to prevent disclosure through the discovery process

   between the parties in litigation. See Murray v. Nationwide Better Health, No. 10-cv-3262

   (C.D. Ill. Mar. 2, 2012); Hicklin Eng'g, L.C. v. Bartell, 439 F.3d 346, 348-49 (7th Cir. 2006).

   Here, the City seeks to prevent the disclosure of information such as home addresses, private

   email addresses and personal telephone numbers to Plaintiff, not to the public. The City’s


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   provision would allow it to redact this information from Plaintiff upon producing the

   requested documents. Plaintiff has already agreed to treat the information as Confidential

   and redact the information from public filings. The City has not met its burden of showing

   good cause to redact this information from its productions to Plaintiff during the discovery

   process.

11. Section 2(b) of the City’s proposed Confidentiality Order carves out a process for the public

   dissemination of CR files produced, applying “preliminary protection from public

   dissemination pursuant to this Oder consistent with the ‘voluminous requests’ procedures

   under Illinois FOIA law (5 ILCS 140(2Ih) and 3.6).” (Dkt. 26-1 p. 2). Plaintiff requested the

   City to explain the necessity of this provision, if the information is otherwise treated as

   Confidential like other confidential records produced in discovery. The City indicated it

   would address the question and did not do so. Neither does its Motion. (Dkt. 26, ¶ 6).

   Accordingly, the City has not sustained its burden of showing good cause for this added

   provision.

12. For the reasons stated above, Plaintiff asks this Court to deny the City’s Corrected Motion for

   Confidentiality Order.



       Respectfully submitted,

       Dated: August 17, 2022


 /s/ Janaan Hashim
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                                      Certificate of Service

         The undersigned attorney hereby certifies that she caused a copy of Plaintiff’s

Memorandum In Opposition To Defendant’s Corrected Motion For Confidentiality Order

to be served upon the parties assigned for service via electronic mail to the below email

addresses on August 17, 2022.


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                                                               /s/Janaan Hashim

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